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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
 v.                                                 §        CRIMINAL NO. 3:10-CR-0183-B-1
                                                    §
 MARTHELLA BROADUS,                                 §
                                                    §
      Defendant.                                    §

                            MEMORANDUM OPINION AND ORDER

        Before the Court are Defendant Marthella Broadus’s Motion to Reduce Term of

Imprisonment (Doc. 392) and Motion Requesting Status of Request for Compassionate Release

(Doc. 394). Broadus seeks compassionate release under 18 U.S.C. § 3582(c)(1)(A), Doc. 392, and

an update on her request. Doc. 394. For the following reasons, Broadus’s Motion for Compassionate

Release is DENIED WITHOUT PREJUDICE, and her Motion Requesting Status is DENIED AS

MOOT.

                                                    I.

                                           BACKGROUND

        On July 7, 2010, Broadus pleaded guilty to Wire Fraud and Arson. Doc. 243, Am. J., 1. On

April 11, 2012, the Court sentenced Broadus to 240 months of imprisonment. Id. at 2. Broadus is

now 50 years old and is confined at the Federal Medical Center, Carswell, with a scheduled release

date of July 7, 2029. 1

        Broadus filed a Motion to Reduce Term of Imprisonment on November 3, 2023. Doc. 392,

Mot. She argues that her family circumstances, a change in the law, and rehabilitation support


        1
          The Court derives this information from the Bureau of Prisons (“BOP”)’s Inmate locator, available
at https://www.bop.gov/inmateloc (last visited March 28, 2025).

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reducing her sentence. Id. at 9–10. 2 The Court considers Broadus’s Motion below.

                                                  II.

                                      LEGAL STANDARD

       Under § 3582(c)(1)(A), as amended by the First Step Act of 2018, “[a] court, on a motion by

the BOP or by the defendant after exhausting all BOP remedies, may reduce or modify a term of

imprisonment, probation, or supervised release after considering the factors of 18 U.S.C. § 3553(a),

if ‘extraordinary and compelling reasons warrant such a reduction.’” United States v. Chambliss, 948

F.3d 691, 692–93 (5th Cir. 2020) (footnote omitted) (quoting 18 U.S.C. § 3582(c)(1)(A)(i)).

                                                 III.

                                               ANALYSIS

A.     Broadus Has Demonstrated Proof of Exhaustion.

       A court can only accept a defendant’s motion for compassionate release “after the defendant

has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on

the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). The exhaustion

requirement is mandatory: “a court may not modify a term of imprisonment if a defendant has not

filed a request with the BOP.” United States v. Franco, 973 F.3d 465, 467–68 (5th Cir. 2020)

(quotations omitted) (emphasis in original).

       Broadus has met this requirement. She attaches to her Motion a request for compassionate

release that she sent to the warden and the warden’s response denying her request. Doc. 392, Mot.,

11–12. Since she exhausted all her administrative remedies, the Court proceeds to the merits.


       2
         The citations to Broadus’s Motion for Compassionate Release (Doc. 392) and Motion Requesting
Status (Doc. 394) refer to the pagination on the Case Management/Electronic Case Files system.

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B.      Broadus Has Not Shown Extraordinary and Compelling Reasons for Compassionate Release.

        Broadus has not shown “extraordinary and compelling reasons” warranting compassionate

release under § 3582(c)(1)(A)(i). Section 3582(c)(1)(A)(i) does not define the “extraordinary and

compelling reasons” that may merit compassionate release. See United States v. Shkambi, 993 F.3d

388, 391 (5th Cir. 2021). Rather, Congress “delegated that authority to the Sentencing

Commission,” which was directed to “promulgate general policy statements regarding the sentencing

modification provisions in § 3582(c)(1)(A) that describe what should be considered extraordinary

and compelling reasons for sentence reduction, including the criteria to be applied and a list of

specific examples.” Id. (citations and alterations omitted).

        Prior to the passage of the First Step Act, the Sentencing Commission issued a policy

statement—U.S.S.G. § 1B1.13—that “sets forth three circumstances that are considered

‘extraordinary and compelling reasons.’” United States v. Muniz, No. 4:09-CR-0199-1, 2020 WL

1540325, at *1 (S.D. Tex. Mar. 30, 2020) (citation omitted). The three circumstances are the

defendant’s medical condition, age, and family situation. See U.S. SENT’G GUIDELINES MANUAL

§ 1B1.13 cmt. n.1. 3 But § 1B1.13 only applies to motions filed by “the Director of the [BOP]” and

thus does not “bind[] a district court addressing a prisoner’s own motion under § 3582.” Shkambi,

993 F.3d at 392–93.

        While not binding, § 1B1.13 and its commentary nonetheless inform the Court’s analysis

of a prisoner’s motion as to what constitutes an extraordinary and compelling reason for

compassionate release. See United States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021) (“Although


        3
         The policy statement also provides a catch-all provision for “an extraordinary and compelling reason
other than, or in combination with,” the three circumstances set forth above, “[a]s determined by the Director
of the [BOP].” § 1B1.13 cmt. n.1.


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not dispositive, the commentary to . . . § 1B1.13 informs [the court’s] analysis as to what reasons

may be sufficiently ‘extraordinary and compelling’ to merit compassionate release.”). Considering

Broadus’s Motion in light of § 1B1.13, the Court concludes that Broadus’s family circumstances, a

change in the law, and her rehabilitation do not constitute “extraordinary and compelling reasons”

warranting compassionate release.

        1.      Broadus’s Family Circumstances Are Not an Extraordinary and Compelling Reason.

        Broadus first argues her family circumstances warrant a sentence reduction. Section 1B1.13

describes four instances in which family circumstances might warrant extraordinary and compelling

reasons: (A) “[t]he death or incapacitation of the caregiver of the defendant’s minor child,” (B) “[t]he

incapacitation of the defendant’s spouse . . . when the defendant would be [their] only available

caregiver;” (C) “[t]he incapacitation of the defendant’s parent when the defendant would be [their]

only available caregiver;” and (D) other similar circumstances in which the defendant would be the

only available caregiver. § 1B1.13(b)(3)(C).

        Broadus alleges none of these circumstances. She does not allege that her mother is

incapacitated, but only that her health is deteriorating. Doc. 392, Mot., 9. Thus, Broadus failed to

establish that her mother is incapacitated. See United States v. Wilson, No. 1:07-CR-00236-MAC-CLS-

1, 2024 WL 4267923, at *6 (E.D. Tex. Sept. 23, 2024) (finding no extraordinary and compelling

circumstances warranting release when a defendant provided no documentation that his parents

were incapacitated). Neither does Broadus allege that she is the only available caretaker for her

mother. See Wilson, 2024 WL 4267923, at *6 (denying compassionate release in part because a

defendant did not show he was the only caregiver available for his parents). Instead, Broadus says

that her mother was admitted to a rehabilitation center to be cared for, Doc. 392, Mot., 9, and has



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since returned home to continue rehabilitation. Doc. 393, Am., 1. Moreover, Broadus fails to

provide any documentation to support her mother’s health problems. While the Court sympathizes

with Broadus’s commendable to desire to take care of her mother, Broadus’s family circumstances

do not warrant a reduction.

       2.      A Change in the Law Does Not Warrant a Sentence Reduction.

       Broadus further explains that a change in the law supports a sentence reduction. See Doc.

394, Mot. Status, 2 (contending she qualifies for relief under 18 U.S.C. § 3582(c)(1)(A) and

§ 1B1.13(b)(6) of the Sentencing Guidelines). Under § 1B1.13(b)(6), a change in the law may

constitute an extraordinary and compelling reason if it “would produce a gross disparity between the

sentence being served and the sentence likely to be imposed at the time the motion is filed.” To

qualify for this relief, a defendant must have received an unusually long sentence and served at least

10 years of imprisonment. § 1B1.13(b)(6).

       Section 1B1.13(b)(6) does not warrant a sentence reduction. First, there have been no

changes in the laws under which Broadus was sentenced. Broadus was sentenced in 2012, and the

last amendments to the arson and wire fraud statutes were in 2004 and 2008, respectively. See 18

U.S.C. § 844 (2004); id. at § 1343 (2008). Furthermore, a 240-month sentence for Broadus’s crimes

is not unusually long. See, e.g., United States v. Smith, No. CRIMA 01-348, 2006 WL 2803055, at *1,

*9 (E.D. La. Sept. 26, 2006) (denying habeas to a defendant who was sentenced to 210 months for

arson, mail fraud, conspiracy to commit arson and mail fraud, use of fire to commit a felony, and

witness tampering). Broadus argues she qualifies for this relief because she has served over ten years.

But this factor alone does not satisfy § 1B1.13(b)(6). Thus, § 1B1.13(b)(6) does not warrant a

sentence reduction.



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       3.      Broadus’s Rehabilitation Does Not Warrant a Sentence Reduction.

       Finally, Broadus explains that she has been rehabilitated while incarcerated. Doc. 392, Mot

9. She includes certificates that show she completed multiple programs during her incarceration.

Doc. 394, Mot. Status, 6–10. While the Court commends Broadus’s efforts to rehabilitate, Broadus

correctly acknowledges that rehabilitation alone is not an extraordinary and compelling

circumstance warranting release but can be considered along with her other reasons. See Doc. 392,

Mot 9; see also Shkambi, 993 F.3d at 391 (“Rehabilitation of the defendant alone shall not be

considered an extraordinary and compelling reason.” (quotation omitted)). Since the other reasons

Broadus provides in support of granting compassionate release fail, Broadus’s rehabilitation does

not warrant a sentence reduction.

C.     The § 3553(a) Factors Do Not Favor Compassionate Release.

       Finally, before granting compassionate release under § 3582(c)(1)(A), the Court must

consider the sentencing factors enumerated in 18 U.S.C. § 3553(a). Section 3553(a) requires the

Court to consider, among other things, whether a sentence “reflect[s] the seriousness of the offense,”

“promote[s] respect for the law,” and “provide[s] just punishment for the offense.” 18 U.S.C.

§ 3553(a)(2)(A).

       The Court found twenty years of imprisonment would serve these goals. See Doc. 243, Am.

J., 2. Broadus is scheduled to be released in July 2029, so four years of her sentence remain. These

remaining four years represent almost a quarter of the total time she is set to serve. See id.

Considering Broadus’s remaining time and the violent nature of her crime, the Court finds that the

§ 3553 factors likely disfavor compassionate release.




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                                                IV.

                                         CONCLUSION

       For the foregoing reasons, Broadus’s Motion to Reduce Term of Imprisonment (Doc. 392)

is DENIED WITHOUT PREJUDICE. By denying Broadus’s Motion without prejudice, the Court

permits Broadus to file a subsequent motion seeking compassionate release in the event she

demonstrates: (1) a change in circumstances rising to the level of extraordinary and compelling; (2)

that she satisfied the exhaustion requirement with respect to those circumstances; and (3) that the

18 U.S.C. § 3553(a) factors support her release. Broadus’s Motion Requesting Status (Doc. 394) is

DENIED AS MOOT.

       SO ORDERED.

       SIGNED: March 31, 2025.


                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE




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